            Case 2:20-cr-00210-PD Document 96 Filed 05/20/22 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                           :
                                                   :
            v.                                     :       Crim. No. 20-210
                                                   :
MICHAEL “OZZIE” MYERS                              :

                                             ORDER

       AND NOW, this 20th day of May, 2022, upon consideration of the Government’s

unopposed Motion for Extension of Time to File Trial Documents (Doc. No. 95), it is hereby

ORDERED that the Government’s Motion (Doc. No. 95) is GRANTED in part as follows:

       1.        The Parties shall jointly submit proposed jury voir dire questions, jury

interrogatories, verdict sheets, and proposed jury instructions no later than May 23, 2022 at 12:00

p.m. The Parties shall individually submit any proposed questions, interrogatories, sheets, or

instructions upon which the parties, AFTER CONFERRING, cannot agree no later than May 23,

2022 at 12:00 p.m.;

       2.        Additionally, if a model jury instruction is submitted, the Parties shall state in a

separate submission the source of the model instruction and whether it is unchanged or modified.

Any modifications shall be underlined and deletions shall be placed in brackets. All such

submissions shall also be filed no later than May 23, 2022 at 12:00 p.m.; and

       3.        The Government shall file a trial memorandum with the Clerk of the Court and

serve a copy on the defendant and Chambers no later than May 23, 2022 at 12:00 p.m..



                                                              AND IT IS SO ORDERED.


                                                                /s/ Paul S. Diamond
                                                              Paul S. Diamond, J.
